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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION


MARC VEASEY, et al.,

                      Plaintiffs,

             v.                                Civil Actions No. 2:13-cv-193 (NGR)

RICK PERRY, et al.,

                      Defendants.


UNITED STATES OF AMERICA,

                      Plaintiff,

TEXAS LEAGUE OF YOUNG VOTERS
EDUCATION FUND, et al.,
                                               Civil Action No. 2:13-cv-263 (NGR)
                      Plaintiff-Intervenors,

TEXAS ASSOCIATION OF HISPANIC
COUNTY JUDGES AND COUNTY
COMMISSIONERS, et al.,

                      Plaintiff-Intervenors,

             v.

STATE OF TEXAS, et al.,

                      Defendants.
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TEXAS STATE CONFERENCE OF NAACP
BRANCHES, et al.,

                      Plaintiffs,
                                                        Civil Action No. 2:13-cv-291 (NGR)
               v.

NANDITA BERRY, et al.,

                      Defendants.


BELINDA ORTIZ, et al.,

                      Plaintiffs,

               v.                                       Civil Action No. 2:13-cv-348 (NGR)

STATE OF TEXAS, et al.,

                      Defendants


                     DECLARATION OF DR. GERALD R. WEBSTER

Pursuant to 28 U.S.C. § 1746, I, Gerald R. Webster, make the following declaration:

INTRODUCTION

       1.      I am a Professor of geography at the University of Wyoming, Laramie, Wyoming,

where I also serve as departmental chair. Prior to assuming my current position at Wyoming in

fall 2007, I was a faculty member in the Department of Geography at the University of Alabama

for eighteen years, serving as departmental chair the last seven. My formal education includes a

BA (1975) in political science from the University of Colorado-Denver, a MS (1980) in

geography from Western Washington University, and a Ph.D. (1984) in geography from the

University of Kentucky.

       2.      My primary research and teaching emphases are in political geography. I have

published over 80 articles in refereed journals, book chapters, and edited volumes. In 2011, I


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was given the Lifetime Achievement Award by the Southeastern Division of the Association of

American Geographers, and in 2012 I was selected to provide the Political Geography Plenary

Lecture at the Association of American Geographers meeting. I have provided written reports,

oral testimony, or both in litigation in ten states. My CV accompanies this report (Appendix 4).

       3.      I have been asked by lawyers at the United States Department of Justice to

determine whether implementation of Texas’s photographic voter identification law (SB 14) will

have differential effects on racial and language minority groups, with emphasis on the contrasts

between Non-Hispanic whites (Anglos), Hispanics, and Non-Hispanic African Americans. I

have been specifically asked to assess obstacles associated with obtaining an Election

Identification Certificate (EIC) due to the residential patterns of different racial and ethnic

groups, access to a motor vehicle, and poverty.

       4.      To complete this report data were examined from the 2000 and 2010 United

States Censuses and the 2006-2010 and 2008-2012 American Community Survey (ACS) Five-

Year Estimates. In addition, data were examined regarding the locations of Texas Department

of Public Safety (DPS) offices at which potential voters can secure EICs and other forms of

identification sufficient to cast a valid in-person ballot under SB 14, the location of local

government offices at which potential voters can apply for EICs, and the locations of temporary

mobile offices at which potential voters can apply for EICs. This report relies more heavily on

the 2006-2010 ACS Five-Year Estimates because that release includes data on household access

to motor vehicles by race and language minority group that were not included in the 2008-2012

ACS Five-Year Estimates. I also examined mass transit ridership statistics for Houston, San

Antonio, and Dallas. Finally, I examined the distribution of registered voters who lack




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appropriate identification from the “no match list” developed by Professor Stephen

Ansolabehere.

      5.      The decennial census is intended as a complete enumeration of the U.S.

population. Beginning with the 2010 Census, the number of questions asked of respondents

was limited to approximately ten. The ACS is intended to collect much of the data historically

provided by the census long form through annual surveys of the U.S. population. See U.S.

Census Bureau, 2008, A Compass for Understanding and Using American Community Survey

Data. It is important to note that the ACS does not replace the decennial census and in fact uses

decennial census population counts as a baseline on which to calculate its rolling annual

estimates of characteristics of the population.

      6.      Many of the calculations and all of the maps included in this report were made by

the University of Alabama Cartographic Research Laboratory under my direction. I have

employed the Laboratory for expert witness work since the mid-1990s and for academic

research efforts since the late 1980s.

      7.      This report includes multiple sections. Immediately following is an “Executive

Summary” stating the report’s primary general findings. The following section provides an

overview of the demographic diversity and population growth rates in Texas. The third section

briefly outlines the types of photographic identification that may be used in order to cast a valid

in-person ballot under SB 14. The fourth section lays out the methods used to determine if it

will be more difficult for African Americans and Hispanics to obtain an EIC as compared to

Anglos. The fifth section examines evidence for these differential effects in the State’s three

largest cities: Houston, San Antonio, and Dallas. The final section considers data from the no

match list pertaining to registered voters with inadequate identification.




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EXECUTIVE SUMMARY

      8.      The time required to travel to and from a DPS office can pose a significant

obstacle for voters to obtain an EIC, with the burden falling most heavily on potential voters

who lack access to a motor vehicle. The cities of Houston, San Antonio, and Dallas contain

more than half of the census tracts in Texas in which more than 25% of households do not have

access to a motor vehicle. In Houston, San Antonio, and Dallas, these tracts are

overwhelmingly populated by African Americans and Hispanics and exhibit high rates of

poverty. The use of the public bus system increases trip travel time several fold over the use of

a motor vehicle. While temporary offices reduce travel times, their highly limited deployment

minimizes if not negates any ameliorative effect. The analysis of the no match list indicates that

many registered voters do not have the identification needed to cast a regular ballot in person at

the polls. Should these voters cast provisional ballots they would face additional travel burdens

while trying to have their ballots accepted.



DEMOGRAPHIC OVERVIEW OF TEXAS

      9.      The population of the state of Texas was 25.1 million in 2010, nearly 4.3 million

or 20.6% greater than it had been in 2000. With respect to Texas’s three largest demographic

groups, the Anglo population grew by only 4.2%, whereas the African American population

grew by 22.1% and the Hispanic population grew by 41.8%. The 2.8 million additional

Hispanic Texans accounted for 65% of the State’s total population growth between 2000 and

2010. General population statistics are provided in Appendix 1 in this report. The shorter

tables in the text are excerpted from the more comprehensive tables located in this Appendix.




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      10.      In 2000, 52.4% of Texas residents were Anglos. The proportion fell to 45.3% in

2010, making Texas one of four majority-minority states in the United States. During the same

period Hispanics grew from 32.0% to 37.6%, and African Americans grew from 11.3% to

11.5% of the State’s total population.

      11.      Texas has nearly 15.3 million residents who are both U.S. citizens and 18 years of

age or older, the citizen voting-age population (CVAP). Anglos constitute 57.6% of this group,

followed by Hispanics at 25.5% and African Americans at 12.7%.

      12.      Anglos, Hispanics, and African Americans have different patterns of geographic

distribution in Texas. The counties with the highest proportions of Anglos are located in East

and North Texas, those with the largest proportions of African Americans are located in the

eastern third of the State, and those with the highest proportions of Hispanics are found along

the State’s southern boundary. It is further important to note that population densities vary

widely across Texas, with the greatest population concentrations in the eastern third of the State,

including the cities of Austin, Dallas, Fort Worth, Houston, and San Antonio.

      13.      According to the 2006-2010 ACS, nearly 14% of all U.S. citizens residing in

Texas had incomes below the poverty level during that period. Rates of poverty differed

significantly between racial groups. While only 8.5% of the Anglo U.S. citizens in Texas had

incomes below the poverty level, over 18% of Hispanic citizens and nearly 23% of African

American citizens had incomes below the poverty level. Geographically, the counties with the

highest rates of poverty are in the far western portion of Texas and along the southern border

with Mexico.

      14.      According to the 2006-2010 ACS, 6% of Texas household units had no access to

a motor vehicle with access varying between racial groups. Thus, while 7.5% of Hispanic




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household units and 13.4% of African American household units did not have access to a motor

vehicle, less than 4% of Anglo household units had no access to a motor vehicle.



                          Figure 1: State of Texas, Anglo Population




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             Figure 2: State of Texas, Black Non-Hispanic Population




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                 Figure 3: State of Texas, Hispanic Population




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                     Figure 4: State of Texas, Poverty Rate




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          Figure 5: State of Texas, Occupied Housing Units Without Vehicle Access




                   Table 1: Selected Statewide Poverty Statistics by Race

                                 Citizen Poverty      Percent Household Units
                                       Rate           without Vehicle Access
                Anglo                 8.6%                     3.7%
               Hispanic               23.8%                    7.5%
                African
                                     23.5%                     13.4%
               American

Source: American Community Survey Five-Year Estimates 2006-2010, Tables, B17025 &
B25044



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SB 14: TEXAS’S PHOTOGRAPHIC VOTER IDENTIFICATION LAW

        15.    The implementation of SB 14 requires voters coming to the polls to provide one

of seven different forms of identification:

        1) Texas driver license
        2) Texas election identification certificate
        3) Texas personal identification card
        4) Texas concealed handgun license
        5) United States military identification card containing the person’s photograph
        6) United States citizenship certificate containing the person’s photograph
        7) United States passport

See Texas Secretary of State’s Office, Texas Voting, http://www.sos.state.tx.us/elections/
pamphlets/largepamp.shtml (last accessed June 8, 2014). The Texas Department of Public
Safety issues Texas driver licenses, EICs, personal identification cards, and concealed handgun
licenses.

        16.    There are 225 DPS Office locations around the state of Texas. Of this number,

eight are located in Dallas County including two located in the city of Dallas; twelve are located

in Harris County including seven located within the city limits of Houston; and five are located

in Bexar County including three within the city limits of San Antonio. Depending on location,

these offices can be open on different days of the week and for different time periods on those

days.

        17.    Texas has 254 counties, and approximately 80 of these counties have no

Department of Public Safety Office that issues photographic identification. Thus, citizens in

these counties wishing to secure the identification from a DPS Office needed to cast a valid in-

person ballot under SB 14 would be required to travel to another county to do so.

        18.    Possibly as a result, as of mid-June 2014, the State has enlisted 61 local

government offices around the state to accept applications for Election Identification

Certificates (EICs). I have reviewed declarations from officials in 44 of these 61 offices in




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order to assess the effectiveness of this arrangement. Copies of these declarations are attached

to my report as Appendix 3.

       19.     EIC applications had been accepted in only 11 of these 44 local government

offices from June 2013 until the date of the declarations in April, May or June 2014. These 11

local government offices accepted a total of 40 EIC applications. Notably, eight of these offices

accepted three or fewer EIC applications, and none accepted more than nine applications. This

result is highly suggestive of implementation problems.

       20.     The State has also developed mobile units that serve as temporary locations at

which potential voters may apply for an EIC. Since January 1, 2014, the State deployed two

mobile units in Houston for two different two-day periods, one mobile unit in San Antonio for

one two-day period, and one mobile unit visited Dallas for one day.



METHODS

       21.     Participation in elections carries costs for voters, with greater costs generally

leading to greater rates of non-participation. As stated by Anthony Downs in his classic 1957

book An Economic Theory of Democracy, “time is the principal cost of voting: time to register,

to discover what parties are running, to deliberate, to go to the polls, and to mark the ballot.

Since time is a scarce resource, voting is inherently costly” (p. 265). Downs goes on to state that

the monetary costs associated with voting include the “cost of transportation” and that the

“Ability to bear these costs varies inversely with income, so upper income citizens have an

advantage. . . . If the time must be taken out of working hours, this cost can be quite high, in

which case high-income groups again have an advantage” (p. 266). Thus, participation in the




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political systems carries costs, and these higher costs can lead to higher rates of non-

participation, particularly among lower-income citizens.

       22.     Also pertinent and parallel to Downs’ work are well established principles in

geography pertaining to the effects of overcoming distance in terms of time and money. Of note

is Edward Ullman’s classic 1954 article entitled Geography as Spatial Interaction. Spatial

interaction is the movement of a person or good from an origin to a destination. In the case of a

potential voter who possesses the identification required by SB 14, the origin is their residence

and the destination is the polling place. In the case of a potential voter who needs to obtain an

EIC, the origin is their residence and the destination is a DPS Office, a county office that has

agreed to accept EIC applications, or a DPS mobile unit. Ullman concluded that spatial

interaction will not occur if the time or monetary costs of overcoming distance are judged too

great. With regard to voting, each potential voter determines whether he or she has at their

disposal the time and monetary resources needed to meet the costs associated with participating

in the political process. The concept of distance decay establishes a direct decrease in the

interaction between two places as the distance between them increases. Thus, a voter living only

a five-minute walk from a location accepting EIC applications is more likely to obtain an EIC

than one needing hours to travel to and from a DPS location.

       23.     Access to a motor vehicle provides potential voters greater flexibility in their

efforts to secure needed identification and to travel to a polling site than someone without access

to a motor vehicle will have. In total there are 139 census tracts in Texas where more than 25%

of the household units do not have access to a motor vehicle. Notably, 78 (56%) of these census

tracts are located in the three largest cities in Texas: Houston, San Antonio, and Dallas. As noted

earlier, 6.0% of all household units in the state of Texas do not have access to a motor vehicle.




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Thus, the 25% or above cut off point for more focused analysis of the census tracts is over four

times greater than the statewide proportion, and many potential voters in these tracts may be

directly affected by the ID law. Therefore, this analysis focuses on these three cities.

       24.     With regard to each city, I first present citywide data on poverty, household unit

access to a motor vehicle and race/ethnicity to allow for internal and external comparisons. I

next discuss the travel distance and time to a DPS Office by motor vehicle from all census tracts

within each city. I then focus on those census tracts in which more than a quarter of the

household units have no access to a motor vehicle, comparing motor vehicle and public bus

travel times to the nearest DPS Office. I then present a comparison of the time needed to travel

by motor vehicle or public bus to one of the mobile DPS Offices deployed between January 1

and May 15, 2014, from the centroids (or geographic center) of the tracts with more than a

quarter of their households having no access to a motor vehicle. Finally, the data from the no

match list is considered as it relates to registered voters who do not have appropriate

identification to cast an in-person ballot.

       25.     The distance to the nearest DPS Office was calculated for all U.S. citizens of

voting age for all census tracts in the three cities. This calculation was completed with ArcGIS's

Network Analyst extension at the census tract level using the distance from each tract’s centroid

as calculated by the Census Bureau to the nearest fixed DPS Office providing acceptable

identification to vote. Because census tract boundaries do not necessarily follow the municipal

boundary, all census tracts having centroids inside the municipal boundary were included in the

calculations. The ArcGIS Network Analyst extension software searches for the nearest road or

highway to the centroid of the tract and then calculates the distance in miles to the nearest DPS




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Office. The Network Analyst extension was also used to calculate the motor vehicle travel time

from the centroid of the tract to the nearest DPS Office.

       26.     The travel distance and time by motor vehicle to the nearest DPS Office is largely

irrelevant to a potential voter residing in a household unit without access to a motor vehicle.

However, each of the three cities examined has a well-developed bus system. Focusing on the

tracts in each city in which more than a quarter of the household units have no access to a motor

vehicle, bus system websites were used to calculate an estimated bus trip time from the bus stop

nearest an individual’s residence to the bus stop nearest the closest fixed DPS Office location. In

later analysis mobile DPS unit locations were added to the assessment. To insure consistency,

all bus trips were assumed to begin at 8:00 am on a weekday.

       27.     Finally, the tracts were subdivided into those that are plurality or majority Anglo,

Hispanic or African American to identify those communities most potentially affected by the ID

law.



DIFFERENTIAL EFFECTS IN SELECTED CITIES

       28.     This section of the report examines the likely differential effects of the Texas ID

law between Anglos, Hispanics and African Americans focusing on household unit access to a

motor vehicle and poverty in the state’s three largest cities. I specifically focus on those census

tracts in which at least 25% of household units do not have access to a motor vehicle, referred to

below as “low vehicle access tracts.”

       29.     This analysis finds that in the three largest cities in Texas members of the African

American and Hispanic communities who seek to obtain an EIC are much more likely than

members of the Anglo community to face substantial burdens. This finding is based primarily




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upon the analysis of the 77 census tracts in Houston, San Antonio, and Dallas in which more

than one-quarter of household units did not have access to a motor vehicle (a 78th tract in San

Antonio was dropped from the analysis because it included Bexar Adult Detention Center). In

addition to limited access to a motor vehicle, these census tracts are overwhelmingly populated

by African American and Hispanic citizens of voting age as a proportion of all citizens of voting

age. Of the 77 tracts in which more than a quarter of the household units did not have access to a

motor vehicle, only two had majority or plurality Anglo citizen voting age populations. These

77 census tracts are also characterized by high rates of poverty.

       30.      Travel times to the nearest DPS Office were calculated from the centroids of the

77 low vehicle access tracts. Estimated one way motor vehicle travel times from the centroids of

the 30 tracts in Houston to the nearest DPS Office averaged 10.5 minutes. The parallel estimate

for the 21 tracts in San Antonio is 7.5 minutes, and for the 26 tracts in the Dallas the estimated

mean one way travel time is 12.8 minutes. For potential voters in these tracts that must rely on

bus travel to secure the proper identification the one way travel times are substantially longer at

66.7 minutes in Houston, 36.2 minutes in San Antonio, and 59.7 minutes in Dallas. Thus, one-

way travel time in Houston for bus riders is 6.3 times longer than for one-way motor vehicle

travel to the nearest DPS Office. Similarly, bus riders from these tracts in San Antonio will

spend 4.8 times longer, and those in Dallas will spend 4.7 times longer in transit than those with

access to a motor vehicle.

       31.     Mobile offices accepting EIC applications visited all three cities between January

1 and May 15, 2014. Two mobile units visited Houston for two days, one mobile unit visited

San Antonio for two days, and one mobile unit visited Dallas for one day. The temporary

geographic locations selected for these mobile units did reduce mean motor vehicle and mean




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bus rider travel time from the low vehicle access tracts in the three cities. But the allocation of

these mobile offices to the three cities was so limited as to call in to question the benefits of their

use.

       32.      The location of the mobile units did reduce motor vehicle and bus travel time.

For example, mean motor vehicle travel time in Houston fell from 10.5 minutes to 7.9 minutes,

and public bus travel time fell from 66.7 minutes to 44.6 minutes. Similarly, motor vehicle and

bus travel times fell in San Antonio and Dallas. But significant differentials continue to exist

with bus riders spending 5.6 times more time than those with access to a motor vehicle in

Houston to travel to a DPS Office. In San Antonio bus riders would spend 6.4 times more time

in-transit than drivers and in Dallas the ratio is 4.3 times more time. These reductions

notwithstanding, the mobile units were deployed for such a short time period that their value is

questionable.



                 Table 2: Average Travel Time In Minutes to Obtain an EIC from
                   Low Vehicle Access Tracts in Texas’s Three Largest Cities

                                                                      Car                  Bus
 Average Travel Time from Low
                                            Car         Bus    (Including Temp.     (Including Temp.
 Vehicle Access Tracts in Minutes
                                                                  Locations)           Locations)

                Houston                     10.5        66.7          7.9                  44.6

             San Antonio                    7.5         36.2          4.9                  31.3

                Dallas                      12.8        59.7          7.8                  33.5


Sources: Calculations were made using the ArcGIS Network Analyst extension and the
municipal bus websites of the three cities.




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Houston

        33.     The city of Houston is located in Harris County and is the largest city in Texas,

with a 2010 population of 2.1 million of the State’s 25.2 million residents and a 2006-2010 ACS

estimated citizen voting-age population of 1.2 million individuals. The latter total includes

445,232 Anglos (38.9%), 349,419 African Americans (30.5%) and 281,506 Hispanics (24.6%).

        34.     The residential patterns of these three groups differ in Houston. Census tracts

with large proportions of Anglos are found in a corridor on the western side that runs from near

the center of the city to the western edge of Houston, while tracts with large proportions of Non-

Hispanic African Americans are found in the northeastern and south-central portions of Houston.

The tracts with the largest proportions of Hispanics are found in the far eastern and north central

portions of the city.

        35.     Houston’s poverty rate differs among the three demographic groups. While

19.4% of the U.S. citizens in Houston had incomes below the poverty level 2006-2010, the rate

among Anglo citizens was 7.3%, the rate for Hispanic citizens was 24.9% and the rate among

African American citizens was 27.6%. The geographic areas with the largest rates of poverty are

located in the eastern third of Houston, generally including census tracts with larger proportions

of African American or Hispanic populations.

        36.     Household access to a motor vehicle also differs in Houston by demographic

group. While 10.1% of all Houston household units had no access to a motor vehicle in 2006-

2010, the rate for Anglo housing units was under 5%. The rate was nearly 18% for African

American housing units and 10% for Hispanic household units. Not surprisingly, given the

geographic pattern of poverty in the city, the census tracts with the largest proportions of




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household units without access to motor vehicles are located in the eastern portion of Houston

including census tracts with high concentrations of African Americans and Hispanics.

             Table 3: Citizen Voting Age Population (CVAP), Poverty and Vehicle
                                  Access in Houston by Race

                        CVAP,           Citizen Poverty,      Household Units without Access to
                        Percent              Percent              a Motor Vehicle, Percent
     Anglo              38.9%                 7.3%                         4.9%
    Hispanic            24.6%                24.9%                        10.1%
     African
                         30.5%               27.6%                           17.7%
    American

Source: American Community Survey Five-Year Estimates 2006-2010, Tables, B05001,
B17001, B17025 & B25044


       37.     The geographic distribution of DPS driver license offices or mobile units

providing EICs is a key factor in determining whether groups are affected differently when

trying to secure such identification. There are twelve DPS Offices in Harris County, with seven

of these located in the City of Houston. Houston also had two mobile units visit on February

27th and 28th, 2014, which I will examine separately given their ephemeral character. The

distance to the nearest DPS driver license office in Harris County for all U.S. citizens of voting

age was calculated for all 458 census tracts in the city of Houston. The average distance to a

DPS driver license office in Houston is 5.8 miles, and the estimated travel time by motor vehicle

is 9.8 minutes. While the estimated travel time using a motor vehicle needed to visit the nearest

DPS Office is small, it is unlikely that a potential voter without access to a motor vehicle would

be able to easily walk to the nearest DPS Office.




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                   Figure 6: City of Houston, Anglo Population




             Figure 7: City of Houston, Black Non-Hispanic Population




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                 Figure 8: City of Houston, Hispanic Population




                    Figure 9: City of Houston, Poverty Rate




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     Figure 10: City of Houston, Occupied Housing Units Without Vehicle Access




               Figure 11: City of Houston, Low Vehicle Access Tracts




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                         Figure 12: Sample Travel Routes by Car and Bus




       38.     Thirty census tracts were identified in the city of Houston with 25% or more of

their household units having no access to a motor vehicle. Among these low vehicle access

tracts, African American citizens constituted a plurality or majority of the citizens of voting age

(CVAP) in twenty-three (including an 85% or greater supermajority in thirteen), Hispanics

constituted a majority or plurality in six, and Anglos constituted a plurality in one. The tract in

which Anglos are a CVAP plurality includes Bellerive, a public housing facility for senior

citizens, which may artificially inflate the percentage of household units lacking motor vehicle

access. In six of these 30 tracts, over 40% of household units did not have access to a motor




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vehicle, with five of these six having citizen voting age populations more than 73% African

American. In the sixth tract, fifty-one percent of all citizens of voting age were Hispanic.

       39.     In all low vehicle access tracts in which a plurality or majority of the CVAP is

African American, the poverty rate for African Americans citizens was over 25%, and in

fourteen of those tracts the African American citizen poverty rate was over 40%. In the low

vehicle access tracts in which a plurality or majority of the CVAP is Hispanic, the poverty rate

for Hispanic citizens was over 30%, and in two tracts the Hispanic citizen poverty rate was over

66%. In the sole low vehicle access tract in which a plurality of the CVAP is Anglo, the Anglo

citizen poverty rate was much lower at 13.4%.

       40.     The average motor vehicle driving time to a fixed DPS driver license office from

one of the 30 low vehicle access tracts in Houston is estimated to be 10.5 minutes. For those

who lack access to a motor vehicle Houston has a well-developed and well-used mass-transit

system. See METROBus and METRORail, Monthly Ridership Report, March 2014,

http://www.ridemetro.org/News/Documents/pdfs/Ridership%20Reports/2014/

0314_Ridership_Report_FY14.pdf. The average bus trip time from a low vehicle access tract in

Houston to the nearest fixed DPS driver license office is estimated to be 66.7 minutes. A table

setting out these figures for each of the low vehicle access tracts is included in Appendix 1.

       41.     The estimated bus travel times do not include that spent walking from a residence

to the nearest bus stop, waiting for the next bus at the stop, and walking from the last bus stop to

the DPS Office. For example, a potential voter residing in census tract 48201222700 would have

to walk for 8 minutes to the nearest bus stop and for 16 minutes from the final bus stop to the

closest DPS driver license office, according to Google Maps’ walking direction estimates. Thus,

while that potential voter’s bus travel time would be only 4 minutes, the total time walking and




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on the bus from a residence to the DPS Office in this tract is more accurately estimated to be 28

minutes, and this is only half the trip. And to reiterate, this estimate does not include time spent

at the first bus stop waiting for the bus to arrive.

        42.      Temporary mobile units issuing EICs have been deployed in different locations

around the state of Texas including Houston in both 2013 and 2014. Here I analyze those

deployments from January 1 through May 15, 2014. Two mobile offices were deployed on

February 27th and 28th with one being located at the Holman Street Baptist Church (3422

Holman Street, # B) and the second at Lone Star College System (4141 Victory Dr.).

        43.      Driving and bus travel times were recalculated for all DPS Offices and the two

mobile units for February 27 and 28, 2014. The locations of the two mobile units did result in

reduced travel times for the residents of 16 of the 30 census tracts. The mean travel time for

residents of all 30 low vehicle access tracts fell from 10.5 minutes to 7.9 minutes, while bus

travel time fell from 66.7 minutes to 44.6 minutes. Thus, the placement of the mobile units did

have a positive effect. But the fact that the mobile units were only available for a total of two

days calls in to question their benefits. Secondly, there remained a significant contrast between

the travel time for those with access to a motor vehicle and those of necessity using the bus

system with bus passengers spending 5.6 times more travel time one way to the nearest DPS

Office or mobile unit providing a EIC. A table setting out travel times from each of the low

vehicle access tracts to the nearest DPS Office including the mobile units as options is included

in Appendix 1.

        44.      In sum, this analysis finds that low vehicle access tracts in Houston are largely

populated by African Americans and Hispanics and that these tracts are also characterized by

high rates of poverty. Economically poor potential voters without access to a motor vehicle can




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use a city bus to travel to the nearest DPS Office, but the estimated mean trip travel times for the

citizens in these tracts doing so is well over six times longer than for citizens in the same tracts

with access to a motor vehicle. Although the temporary locations of the mobile units providing

EICs in many cases reduced travel times for both motor vehicle drivers and bus passengers in the

same census tracts, bus riders would still spend 5.6 times more travel time than those who have

access to a motor vehicle. Secondly, the limited deployment of temporary locations calls into

question their ability to mitigate barriers to obtaining an EIC.

                  Table 4: Travel Time to Locations to Obtain an EIC in Houston

                                                                      Low Vehicle Access
          One-Way Travel         All        Low Vehicle Access
                                                                     Tracts (including DPS
              Time              Tracts           Tracts
                                                                     Temporary Locations)
             Minutes By Car       9.8                  10.5                    7.9
             Minutes By Bus       n/a                  66.7                    44.6

Sources: Calculations were made using the ArcGIS Network Analyst extension and
Ridemetro.org


San Antonio
      45.   The city of San Antonio is located in Bexar County and is the second largest city

in Texas, with a 2010 population of 1,327,407 and a 2006-2010 ACS estimated CVAP of

844,260 residents. The latter total includes 286,551 Anglos (33.9%), 472,422 Hispanics

(56.0%), and 59,344 African Americans (7.0%). Thus, San Antonio’s eligible voter population

is predominantly Hispanic, and it has a far smaller African American community than Houston.

       46.      Anglos, African Americans and Hispanics have distinct patterns of residence in

San Antonio. Anglos dominate the northern third of the city with their largest concentrations in

the north central portion of San Antonio. Concentrations of African Americans are found in a

handful of census tracts in the far eastern central portion of the city. While concentrations of




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Hispanics are located in all but the far northern portion of San Antonio, their largest

concentrations are in the southcentral and southern parts of the city.

       47.     Eighteen percent of U.S. citizens living in San Antonio had incomes below the

poverty level according to the 2006-2010 ACS, but there were significant contrasts between

demographic groups. While nearly 22% of Hispanics and over 24% of African American

citizens had incomes below the poverty level, only 9.4% of Anglos did. Poverty rates are

generally greatest in the southern half of San Antonio, most particularly in some largely Hispanic

areas and in some of the census tracts on the eastern margin of the city with large proportions of

African Americans.

       48.     Household unit access to a motor vehicle differs substantially by demographic

group in San Antonio. While nearly 17% of African American household units and 11% of

Hispanic household units had no access to a motor vehicle 2006-2010, the rate for Anglo

household units was 6%. Geographically those areas with the largest proportions of household

units without access to a motor vehicle are found in the central portions of San Antonio, most

particularly in census tracts dominated by Hispanics.



                Table 5: CVAP, Poverty, and Vehicle Access in San Antonio by Race

                        CVAP,           Citizen Poverty,       Household Units without Vehicle
                        Percent              Percent                  Access, Percent
     Anglo              33.9%                 9.4%                         6.1%
    Hispanic            56.0%                21.9%                        10.8%
     African
                          7.0%               24.4%                           16.6%
    American

Source: American Community Survey Five-Year Estimates 2006-2010, Tables, B05001,
B17001, B17025 & B25044




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       49.     There were five fixed DPS Offices in Bexar County in mid-June 2014, with three

of these located in the city of San Antonio. Additionally, one mobile unit visited San Antonio on

Tuesday February 25th and Wednesday February 26th. The distance to a DPS Office was

calculated for all U.S. citizens of voting age for all 285 census tracts in San Antonio. The

average distance from all tract centroids to a DPS Office in San Antonio is 5.8 miles, and the

estimated motor vehicle driving time is 9.9 minutes.

                        Figure 13: City of San Antonio, Anglo Population




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          Figure 14: City of San Antonio, Black Non-Hispanic Population




               Figure 15: City of San Antonio, Hispanic Population




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                      Figure 16: City of Houston, Poverty Rate




   Figure 17: City of San Antonio, Occupied Housing Units Without Vehicle Access




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                   Figure 18: City of San Antonio, Low Vehicle Access Tracts




50.    Twenty-two low vehicle access census tracts were identified in San Antonio. One of

these (48029110600) included Bexar County Adult Detention Facility and was dropped from

further analysis. Twelve of the remaining 21 census tracts had 30% or more of their household

units without access to a motor vehicle, including three that were above 40%. Two of the 21

tracts had African American CVAP majorities, while the remaining nineteen had Hispanic

CVAP majorities. Ten of the nineteen majority Hispanic CVAP tracts had more than 30% of

their household units lacking access to a motor vehicle, and three had rates of no access greater

than 40%.

       51.     In the two low vehicle access tracts with majority African American CVAPs at

least 36% of African American citizens had incomes below the poverty level. The rate of no


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access to a motor vehicle in these tracts was higher for African American household units than it

was for the tract as a whole. Among the majority Hispanic low vehicle access tracts, 15 tracts

had a poverty rate of more than 30%, nine had rates above 40%, and five had rates above 50%.

       52.     The average driving time from the centroid of the 21 San Antonio low vehicle

access tracts to the nearest DPS Office was calculated as 7.5 minutes. For those without access

to a vehicle, the city of San Antonio is serviced by a well-developed and well-used bus system.

See VIA, Facts & Figures, at http://viainfo.net/Organization/Facts.aspx. The average bus trip

from a low vehicle access tract to a fixed DPS Office location was 36.2 minutes, excluding

walking to and from bus stops. A table setting out travel times from each of the low vehicle

access tracts in San Antonio to the nearest DPS Office is included in Appendix 1.

       53.     Temporary mobile units issuing EICs have been deployed in San Antonio in both

2013 and 2014. Here I analyze the deployments in 2014, including on February 25th at the

Claude Black Community Center (2805 E, Commerce St.) and on February 26th at the Las

Palmas Library (525 Castroville Rd.). Because of these single-day deployments registered voters

traveling to the mobile unit on February 25th who discovered they were not in possession of all

required documentation would not have the option of returning to the same location to secure an

EIC on February 26th.

       54.     Driving and bus travel times were recalculated to include both DPS Offices and

the mobile units present in San Antonio on February 25 and 26, 2014. The locations of the

mobile units on the two days did result in reduced travel times for the residents of 13 of the 21

census tracts. The mean travel time for residents of all 21 census tracts with access to a motor

vehicle fell from 7.5 minutes to 4.9 minutes, while bus travel time fell from 36.2 minutes to

31.3 minutes during the two day period. The fact that the mobile unit was available for only




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one day in two different locations seriously calls in to question its benefit. Secondly, there

remained a significant contrast between the travel time for those with access to a motor vehicle

and those of necessity using the bus system. A table setting out travel times from each of the

low vehicle access tracts in San Antonio to the nearest DPS Office or 2014 temporary location

is included in Appendix 1.

       55.      Overall, low vehicle access tracts in San Antonio are largely populated by

Hispanics and, to a lesser degree, by African Americans. These tracts are also generally

characterized by high rates of poverty. Economically poor potential voters without access to a

motor vehicle can use a city bus to travel to the nearest DPS Office, but the estimated trip travel

times for these citizens are nearly five times longer than for citizens residing in the same census

tract with access to a motor vehicle. While the two single-day deployments of a mobile unit did

reduce one way travel times for both those with access to a motor vehicle and those of necessity

using the bus system, the brevity of the deployment calls into question the demonstrable

benefits of the mobile units. Secondly, even with the decreases in travel times there remained

significant contrasts between the estimated times for those with access to a motor vehicle and

those using the city bus service. Eligible voters using the bus system will spend 6.4 times more

time one way to visit either a DPS Office or mobile unit than those with access to a motor

vehicle in the same census tract.

                Table 6: Travel Time to Locations to Obtain an EIC in San Antonio

                                                                    Low Vehicle Access
         One-Way Travel          All       Low Vehicle Access
                                                                   Tracts (including DPS
             Time               Tracts          Tracts
                                                                   Temporary Locations)
             Minutes By Car      9.9                  7.5                   4.9
             Minutes By Bus      n/a                 36.2                   31.3

Sources: Calculations were made using the ArcGIS Network Analyst extension and Viva.org.



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Dallas

         56.   Dallas is located in Dallas County and is the third largest city in Texas with a

2010 population of 1,197,817 and a CVAP of 661,962. Anglos account for 45% of the citizen

voting age population (CVAP) in Dallas, followed by African Americans (30.8%), and

Hispanics (20.2%). Of the three cities examined, Dallas has by proportion the largest Anglo

(45%) citizen voting age population and the smallest Hispanic (20.2%) citizen voting age

population. The Anglo population is concentrated in the northern portion of Dallas, while the

African American population is concentrated in the southern portion of the city. The Hispanic

population has geographic concentrations on both the east and west sides.

         57.   The poverty rate within the city of Dallas was 20.7% according to 2006-2010

ACS estimates. This rate varied substantially by demographic group with only 7.7% of Anglo

U.S. citizens but 27.6% of Hispanic U.S. citizens and 30.2% of African American U.S. citizens

having incomes below the poverty level. Geographically the most significant pockets of

poverty in Dallas are located in the southern and south central portions of the city, most

particularly in areas with high proportions of African Americans.

         58.   Household unit access to motor vehicles in Dallas also varies by demographic

group. While 9.9% of household units in Dallas did not have access to a motor vehicle, the rate

for Anglo household units was nearly half the citywide rate at 5.3%. In comparison, 6.9% of

Hispanic household units and 20.7% of African American household units did not have access

to a motor vehicle. Geographically those household units lacking access to a motor vehicle tend

to be located in the central and southern portions of the city, though there are several tracts in

the northeast part of Dallas with proportions above the citywide proportion as well. These tracts

generally have substantial African American or Hispanic populations.




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                Table 7: CVAP, Poverty, and Vehicle Access in Dallas by Race

                       CVAP,           Citizen Poverty,         Households without Vehicle
                       Percent              Percent                  Access, Percent
     Anglo             45.0%                 7.7%                         5.3%
    Hispanic           20.2%                30.2%                         6.9%
     African
                        30.8%               27.6%                          20.7%
    American

Source: American Community Survey Five-Year Estimates 2006-2010, Tables, B05001,
B17001, B17025 & B25044


      59.      The geographic distribution of DPS Offices or mobile offices providing EICs is

one factor determining whether different groups are affected differently when trying to secure

appropriate identification to vote. There are two DPS Offices in the city of Dallas and six more

relatively near the municipal boundary and within Dallas County. Additionally, one mobile

unit providing EICs visited Dallas in 2014, on Tuesday February 18, which is considered

separately below. The distance to a DPS Office was calculated for all U.S. citizens of voting

age for all 302 census tracts with centroids within the municipal boundary of the city of Dallas.

The average distance from all tract centroids to a DPS office in Dallas is 7.1 miles and the

estimated travel time by car is 11.3 minutes.




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                   Figure 19: City of Dallas, Anglo Population




             Figure 20: City of Dallas, Black Non-Hispanic Population




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                  Figure 21: City of Dallas, Hispanic Population




                     Figure 22: City of Dallas, Poverty Rate




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      Figure 23: City of Dallas, Occupied Housing Units Without Vehicle Access




                Figure 24: City of Dallas, Low Vehicle Access Tracts




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      60.     Nearly ten percent of household units in Dallas do not have access to a motor

vehicle making the above distance and time calculations to a DPS Office largely irrelevant to

potential voters living in these household units. This analysis identified 26 census tracts in

Dallas in which more than twenty-five percent of the household units had no access to a motor

vehicle. Included in these 26 low vehicle access tracts were 21 that were majority or plurality

African American CVAP, four that were majority or plurality Hispanic CVAP, and one had a

majority Anglo CVAP.

      61.     African American household units were more likely than all household units to

lack access to a motor vehicle in the majority or plurality African American CVAP tracts.

These tracts also exhibit high poverty rates with fifteen of these tracts having more than 40% of

African American citizens living below the poverty level. Among Hispanic CVAP majority or

plurality low vehicle access tracts more than 40% of Hispanic citizens had incomes below the

poverty level. In the sole majority-Anglo CVAP low vehicle access tract nearly a third of

Anglo citizens lived below the poverty level.

      62.     The average estimated driving time with a motor vehicle from the centroid of the

25 low vehicle access tracts in Dallas to the nearest DPS Office was calculated as 12.8 minutes.

For those without access to a motor vehicle, the city of Dallas is served by a well-developed and

well-used bus system. See DART, Facts About Dallas Area Rapid Transit,

http://www.dart.org. The average bus trip travel time (excluding walking) from a low vehicle

access tract in Dallas to a DPS Office was 59.7 minutes. A table setting out travel times from

each of the low vehicle access tracts to the nearest DPS Office is included in Appendix 1.

      63.     Temporary mobile units issuing EICs were deployed in Dallas in both 2013 and

2014. In 2014, Dallas had a single mobile unit deployed for a single day at the J. Erik Jonsson




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Central Library (1515 Young St.). This schedule limits the degree to which this temporary

location reduces barriers to obtain an EIC.

      64.     Driving and bus travel times were recalculated for all DPS Offices and the single

mobile unit available on February 18th. The location of the single mobile unit did result in

reduced travel times for the residents of 19 of the 26 census tracts. For example, the mean

travel time for residents of all 26 census tracts with access to a motor vehicle fell from 12.8

minutes to 7.8 minutes, while mean bus travel time fell from 59.7 minutes to 33.5 minutes.

Thus, the placement of the mobile units did have a positive effect. But the fact that the mobile

unit was only available for a single day calls in to question its benefits. Secondly, there

remained a significant contrast between the travel time for those with access to a motor vehicle

and those of necessity using the bus system in the same census tract, with bus passengers

spending 4.1 times more travel time each way to the nearest DPS Office or mobile unit. A table

setting out travel times from each of the low vehicle access tracts to the nearest DPS Office or

mobile unit location is also included in Appendix 1.

      65.     This analysis finds that Dallas census tracts with large proportions of household

units without access to a motor vehicle are overwhelmingly populated by African Americans,

and to a lesser degree Hispanics. There is a single tract with majority Anglo CVAP. These 26

tracts are also characterized by high rates of poverty. Economically poor potential voters

without access to a motor vehicle can use a city bus to travel to the nearest DPS office, but the

estimated trip travel time for these citizens to arrive at the DPS Office is nearly five times

longer than for someone driving a motor vehicle. The mobile unit deployed to Dallas on

February 18, 2014 did reduce average travel times for both motor vehicle and bus travel times

on that day. But since the mobile unit was deployed for only a single day its value in




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facilitating increased access to EICs is questionable. Finally, even considering the reduced

travel times on February 18th, bus passengers would still have spent over four times more one-

way travel time than motor vehicle travelers in the same census tract to arrive at either a DPS

Office or the mobile unit.

                   Table 8: Travel Time to Locations to Obtain an EIC in Dallas

                                                                     Low Vehicle Access
           One-Way Travel         All      Low Vehicle Access
                                                                    Tracts (including DPS
               Time              Tracts         Tracts
                                                                    Temporary Locations)
             Minutes By Car       11.3                12.8                   7.8
             Minutes By Bus        n/a                59.7                   33.5


Sources: Calculations were made using the ArcGIS Network Analyst extension and Dart.org.


NO MATCH LIST
       66.      This final section pertains to data in the “no match list” developed by Professor

Stephen Ansolabehere. This list includes all registered voters in the state of Texas who do not

possess any of the required forms of identification to cast an in-person vote on election day.

Thus, these registered voters could arrive at the polls if the law is implemented and find they are

unable to cast a regular valid ballot.




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                  Figure 25: State of Texas, Lack of SB 14 ID




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                Figure 26: State of Texas, Lack of SB 14 ID Rate




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                Figure 27: City of Houston, Lack of SB 14 ID Rate




              Figure 28: City of Sam Antonio, Lack of SB 14 ID Rate




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                        Figure 29: City of Dallas, Lack of SB 14 ID Rate




       67.     In total there are 1,277,386 registered voters in Texas that do not have acceptable

identification to cast a ballot should SB 14 be implemented. This figure is 9.4% of all registered

voters in Texas. The problem is greater in those 139 Texas census tracts in which more than a

quarter of the household units do not have access to a motor vehicle. In these tracts 39,301 or

19.5% of all registered voters do not have the required identification.

       68.     When considering all census tracts with their centroids in the city limits of

Houston, there are 105,021 registered voters without the identification required by SB 14. This

figure constitutes 10.8% of all registered voters in Houston. The situation is far worse in the 30

census tracts in which more than a quarter of the household units do not have access to a motor

vehicle. See Tables 4A, 4B and 4C, Appendix 1. In these tracts there are 9,796 registered voters


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without the required identification, or 20.3% of all registered voters in these 30 tracts. It should

be reiterated that in 29 of these 30 census tracts African American or Hispanic citizens of voting

age constitute a plurality or majority of the citizen voting age population.

       69.     When considering all census tracts with their centroids in the city limits of San

Antonio, there are 74,811 registered voters without the identification required by SB 14. This

figure constitutes 10.9% of all registered voters. The situation is far worse in the 21 census tracts

in San Antonio in which more than a quarter of the household units are without access to a motor

vehicle. See Tables 6A and 6B, Appendix 1. In these tracts there are 5,519 registered voters

without the needed identification. This number is 18.3% of all registered voters in these 21

census tracts. African Americans and Hispanics constitute a majority or plurality of the citizen

voting age population in all 21 of these census tracts.

       70.     When considering all census tracts with their centroids in the city limits of Dallas,

there are 74,001 registered voters without the identification required by SB 14. This figure

constitutes 12.2% of all registered voters. The situation is far worse in the 26 low vehicle access

census tracts in Dallas. See Tables 8A, 8B and 8C, Appendix 1. In these tracts there are 8,787

registered voters without the forms of identification required by SB 14. This figure is 21.9% of

all registered voters in these tracts. African Americans or Hispanics constitute a majority or

plurality of the citizen voting age populations in 25 of these 26 census tracts.




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                      Table 9: Registered Voters in Texas and Selected Cities
                           Without Needed Identification Under SB 14

                                                        Total Registered      Percent Registered
                             Total Registered
       Location                                       Voters without SB 14   Voters without SB 14
                                  Voters
                                                               ID                     ID
    State of Texas             13,539,265                  1,277,386                  9.4%
 Low Vehicle Access
                                 201,407                    39,301                   19.5%
   Tracts in Texas*
  City of Houston*               974,025                    105,021                  10.8%
 Low Vehicle Access
                                 48,394                      9,796                   20.3%
 Tracts in Houston**
City of San Antonio*             648,876                    74,811                   10.9%
 Low Vehicle Access
    Tracts in San                30,077                      5,519                   18.3%
     Antonio**
    City of Dallas*              606,581                    74,001                   12.2%
 Low Vehicle Access
                                 40,058                      8,787                   21.9%
  Tracts in Dallas**


Source: Data in the no match list were provided by the U.S. Department of Justice.
*
  Analysis includes all census tracts with their centroids located within the municipal boundary of
the respective city.
**
   Low vehicle access tracts are defined as those in which more than 25% of the household units
do not have access to a motor vehicle. There are 139 such tracts in the State of Texas, 30 in
Houston, 22 in San Antonio and 26 in Dallas. One tract in San Antonio was not included in the
analysis due to the location of Bexar Adult Detention Center. See Tables 4A, 4B, & 4C, Tables
6A & 6B, and Tables 8A, 8B, & 8C for the tract numbers in the three cities.

       71.     Pearson’s correlation analysis was used to determine if there were statistical

associations between the percent of registered voters on the no match list without the forms of

identification required by SB 14 and percent Anglo CVAP, percent African American CVAP,

percent Hispanic CVAP and selected socioeconomic variables at the census tract level. For the

state as a whole there were substantial and statistically significant positive associations between

the percentage of registered voters on the no match list and percent African American CVAP,




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percent Hispanic CVAP, the poverty rate, and the percentage of household units without access

to a motor vehicle. There was a negative association between percent Anglo CVAP and the

percentage of registered voters on the no match list. These correlations strongly suggest that

higher percentages of registered voters without the required identification by SB 14 are found in

census tracts with higher percentages of African American and Hispanic citizens of voting age,

higher rates of poverty, more limited access to motor vehicles, and lesser percentages of Anglo

citizens of voting age.

          72.     Associations similar to those described above were found in Houston, San

Antonio, and Dallas. In all three cities higher proportions of registered voters on the no match

list were associated with higher proportions of African American and Hispanic citizens of voting

age, higher rates of poverty, and more limited access to motor vehicles by household units. In all

three cities the proportion of Anglo citizens of voting age was associated with lesser percentages

of registered voters on the no match list.

                             Table 11: Pearson’s Correlation Coefficients
                        with Percent of Registered Voters on the No Match List

                                Texas             Houston       San Antonio           Dallas
                              (N=5,234)           (N=458)         (N=285)            (N=302)
Anglo CVAP Percent             -0.629**           -0.776**        -0.853**           -0.829**
     African American
                                0.465**            0.733**        0.219**             0.717**
      CVAP Percent
      Hispanic CVAP
                                0.404**            0.187**        0.795**             0.280**
          Percent
       Poverty Rate             0.675**            0.741**        0.737**             0.602**
No Access to a Motor
                                0.608**            0.679**        0.672**             0.683**
  Vehicle Percent
**
     Correlation is significant at the 0.01 level (2-tailed).




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CONCLUSIONS

       73.    The time required to travel to and from a DPS Office can pose significant

obstacles and include significant costs to a voter attempting to obtain an EIC, with the burden

falling most heavily on potential voters who lack access to a motor vehicle. The cities of

Houston, San Antonio, and Dallas contain more than half of the census tracts in Texas in which

more than 25% of households do not have access to a motor vehicle. In all three cities these

low vehicle access census tracts are overwhelmingly populated by African Americans and

Hispanics and exhibit high rates of poverty. Although all three cities have well developed and

well utilized bus systems, their use increases trip travel time several fold over the use of a motor

vehicle. While temporary DPS offices can reduce travel times, their highly limited deployment

minimizes if not negates any ameliorative effect on those attempting to secure an EIC.

       74.    The analysis of the no match list indicates that census tracts with greater

percentages of Hispanic and African American citizens of voting age tend to have higher

percentages of registered voters without the forms of identification required by SB 14. This

analysis further determined that census tracts with higher rates of poverty and more limited

access to motor vehicles also tend to have higher percentages of registered voters without the

forms of identification required by SB 14.

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Appendices

1) Tables
2) Supplemental Maps
3) Declarations
4) Vita




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